
PER CURIAM.
The plaintiff George William Stewart appeals an order granting a new trial after jury verdict against the defendant, Standard Oil Company of Kentucky, and Jack Patrick Byrd.
A motion for new trial should be granted only in the exercise of the sound, considered discretion of the trial court, and when granted should not be disturbed unless there is a clear showing that such authority has been abused. Cloud v. Fallis, Fla. 1959, 110 So.2d 669. A careful consideration of the record before the court, and the briefs of counsel reveal no showing of abuse of discretion by the trial court.
Affirmed.
SMITH, C. J., and ANDREWS and KANNER, (RET.), JJ., concur.
